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                               UNITED STATES DISTRICT COURT
11
                              CENTRAL DISTRICT OF CALIFORNIA
12
     TIANHAI LACE USA INC.,                       Case No.: 2:17−cv−07512−AB (PJWx)
13
14               Plaintiff,
                                                  [PROPOSED] ORDER GRANTING
15         v.                                     REQUEST TO A 60-DAY STAY OR
16
                                                  CONTINUANCE OF PROCEEDINGS
     FOREVER 21, INC., a Delaware
17
     Corporation; TOPSON DOWNS OF
18   CALIFORNIA, INC., a California
19   Corporation; FARRAH 17, INC., a
     California Corporation; and DOES 1-10,
20
21               Defendants.
22
23
                                      [PROPOSED] ORDER
24         ON STIPULATION OF THE PARTIES AND FOR GOOD CAUSE
25   APPEARING, THE FOLLOWING IS HEREBY ORDERED:
26
27         The Schedule of Pretrial & Trial Dates entered in this action under Docket. No. 81,
28   is hereby modified as follows:

                                       {04358/609431-000/02012595.1}
                                                   -1-
                                      PROPOSED ORDER
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 1
 2     Matter                   Current Date                         Proposed New Date
 3     Non-Expert Discovery     September 28, 2018                   November 30, 2018
 4     Cut-Off
       Expert Disclosures       October 26, 2018                     December 21, 2018
 5
       (Initial)
 6     Expert Disclosures       November 16, 2018                    January 11, 2019
 7     (Rebuttal)
       Expert Discovery Cut-    November 30, 2018                    February 1, 2019
 8     Off
 9     Deadline to Complete     November 30, 2018                    February 1, 2019
10
       Settlement Conference 
       Rule 56 Motion           January 11, 2019                     March 12, 2019
11     Deadline
12     Opposition to Rule 56    February 1, 2019                     April 2, 2019
       Motion
13
       Reply in Support of      February 15, 2019                    April 16, 2019
14     Rule 56 Motion
15     Last Date to Hear        March 1, 2019                        May 3, 2019
       Motions
16     Trial Filings (First     April 5, 2019                        June 4, 2019
17     Round)
       Trial Filings (Second    April 12, 2019                       June 11, 2019
18
       Round)
19     Final Pretrial           May 3, 2019, at 11:00                July 12, 2019, at 11:00 a.m.
20     Conference               a.m.
       Trial                    May 21, 2019, at 8:30                July 30, 2019, at 8:30 a.m.
21                              a.m.
22
23   SO ORDERED.
24   DATED: August 21, 2018               By:
                                                   HONORABLE ANDRÉ BIROTTE JR.
25
                                                   United States District Judge
26
27
28


                                     {04358/609431-000/02012595.1}
                                                 -2-
                                   PROPOSED ORDER
